908 F.2d 968Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roy Don SMITH, Plaintiff-Appellant,v.Jessie VARNADO, District Manager;  the United StatesDepartment of Health and Human Services, SocialSecurity Administration, Defendants-Appellees.
    No. 90-1012.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 4, 1990.Decided:  June 20, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenwood.  Matthew J. Perry, Jr., District Judge.  (C/A No. 90-362-9-OB).
      Roy Don Smith, appellant pro se.
      D.S.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Roy Don Smith appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Varnado, C/A No. 90-362-9-OB (D.S.C. Mar. 1, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    